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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GOLD’S GYM LICENSING LLC,
                                                   Case No. 19-cv-05744
              Plaintiff,
                                                   Judge Jorge L. Alonso
v.
                                                   Magistrate Judge Sunil R. Harjani
3D ORIGINAL DESIGN STORE STORE, et
al.,
              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Gold’s Gym

Licensing LLC’s (“Gold’s Gym” or “Plaintiff”) hereby dismisses this action with prejudice as to

the following Defendant:

              Defendant Name                                         Line No.
              Super Ray Store                                           29

Dated this 1st day of November 2019.       Respectfully submitted,


                                           /s/ Allyson M. Martin
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                                           Justin R. Gaudio
                                           Allyson M. Martin
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